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                                  UNITED STATES DISTRICT COURT
                                       WESTERN DISTRICT OF WASHINGTON
                                             OFFICE OF THE CLERK
                                                      Seattle
                                            700 Stewart St., Suite 2310
                                                Seattle, WA 98101
                                                 (206) 370-8400




 RAVI SUBRAMANIAN                                                                             ERIC SMITS
District Court Executive                                                                   Chief Deputy Clerk
     Clerk of Court




                                               June 28, 2022


       CLERK, US DISTRICT COURT
       Alfred A. Arraj
       United States Courthouse
       901 19th Street, 2nd Floor
       Denver, CO 80294

       Re: DHRUV JANI
       Your No: 22-CR-00202-PAB
       Our No: MJ22-282

       Dear Clerk

       Pursuant to the order transferring the above captioned case to your court per RULE 5(c)(3)(D),
       dated 6/28/2022, please download the documents maintained electronically by the District Court
       through PACER for the Western District of Washington at https://ecf.wawd.uscourts.gov/.


       Please acknowledge receipt.


       Sincerely,


       RAVI SUBRAMANIAN, District Court Executive


       By Andy Quach,
       Deputy Clerk
